 1    DEVIN DERHAM-BURK #104353
      CHAPTER 13 STANDING TRUSTEE
 2    P O BOX 50013
      SAN JOSE, CA 95150-0013
 3
      Telephone: (408) 354-4413
 4    Facsimile: (408) 354-5513

 5

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 7
                                   UNITED STATES BANKRUPTCY COURT
 8    IN RE:                                        )
                                                    )     CHAPTER 13
 9    GLORIA CABRAL ROBLES                          )     CASE NO. 18-51575 MEH
                                                    )
10                                                  )
                                                    )      STATEMENT ADJOURNING 341(a)
11                                                  )      MEETING OF CREDITORS
                                                    )
12    Debtor                                               Fed. R. Bankr. P. 2003(e)

13    According to the Trustee’s records, the Debtor in this Chapter 13 case failed to appear at the First
14    Meeting of Creditors as required by 11 U.S.C. §341(a). A continued First Meeting of Creditors
15    shall be held at the date and time referenced below.
16
      According to the Trustee’s records, the Debtor in this Chapter 13 case failed to provide acceptable
17
      picture identification and/or proof of Social Security Number at the First Meeting of Creditors. A
18
      continued First Meeting of Creditors shall be held at the date and time referenced below. Debtor
19
      must provide acceptable picture identification and proof of Social Security Number.
20

21
       DATE: December 03, 2018                          LOCATION: 280 S. 1st St. Room 130
22     TIME: 11:30 am                                             San Jose, CA 95113-3002
23
       Debtor Must Attend!
24

25

26




     Case: 18-51575       Doc# 57                 Notice of Continuance
                                       Filed: 10/23/18      Entered:of10/23/18
                                                                        M eeting of Creditors
                                                                                    15:11:30  with COS - 18-51575
                                                                                                    Page    1 of 2M EH
                               CERTIFICATE OF SERVICE BY MAIL
 1

 2    I hereby declare that I am over the age of 18 years, not a party to the within cause; my business
 3    address is 983 University Ave., Bldg. C-100, Los Gatos, CA 95032. I served a copy of the
 4    Notice of Continuance of Meeting of Creditors by placing same in an envelope in the U.S. Mail
 5    at Los Gatos, California on October 23, 2018. Said envelopes were addressed as follows:
 6

 7 GLORIA CABRAL ROBLES
   3474 GILA DR
 8 SAN JOSE, CA 95148

 9

10

11

12

13

14                                             /s/ Tania Ribeiro
                                              Office of Devin Derham-Burk, Trustee
15

16
      In addition to any paper copies served by U.S. Mail, registered ECF participants, including parties
17
      who have requested Special Notice in this case, will receive an electronic copy of the foregoing
18
      document when it has been filed with the Court.
19

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                                                                                                    Page    2 of 2M EH
